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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ZOLOFT (SERTRALINE HYDROCHLORIDE)                         MDLN0.2342
PRODUCTS LIABILITY LITIGATION                                    12-MD-2342

                                                                 HON. CYNTHIA M. RUFE

THIS DOCUMENT APPLIES TO:                                        CNILACTION

Morgan, et al. v. Pfizer, Inc., et al.                           No. 12-6934


                                           ORDER

       AND NOW, this 2nd day of June 2014, upon consideration of the Motion to Remand

[MDL Doc. No. 354], and the responses and replies thereto, it is hereby ORDERED that the

Motion to Remand is GRANTED and the case is REMANDED to the Circuit Court of St. Louis

City, Missouri. The Clerk is directed to CLOSE the case.

       It is so ORDERED.
